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EXHIBIT "D"

EXPERT REPORT OF BARKLEY CLARK

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
)
VICK] D. JENKINS, }
)
Plaintitf } Case No.C2-04-726
} Judge Edmund A. Sargus, Jr.
vs. ) Magistrate Judge Norah McCann
) King
HYUNDAI] MOTOR FINANCING CO.,, et al.)
)
Defendants )
)

EXPERT REPORT OF BARKLEY CLARK

My Credentials. My vita is attached as Exhibit A. [| am a partner in the law firm of
Stinson Morrison Hecker LLP. 1 am a member of the firm’s Financial Services Practice Group.
i have consulted with banks and other financial institutions for 42 years regarding commercial
and banking Jaw issues, including secured transactions under Article 9 of the Uniform
Commercial Code and related consumer protection legislation. I have often dealt with issues
involving onforcement of security interests, both commercial and consumer. I have drafted
secured loan documents, and counseled secured lenders on a variety of issues, including
problems posed by enforcement of securily interests, the nature of “default”, repossession, the
elements of a commercially reasonable foreclosure sales including notice, and liability for
noncompliance.

My professional career has also included a strong academic component. Most recently, |
served as an Adjunct Professor at the University of Virginia, where | taught courses on Secured
Transactions and Payment Systems under the UCC and federal banking law. Prior to my

appointment at the University of Virginia, ] laught banking law as an Adjunct Professor al the

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Georgetown Law Center. Prior to that, | held an endowed chair in commercial and banking law
at the University of Kansas School of law. For four years I served as Professor of law at the
National Law Center, George Washington University, where | taught courses on Secured
Transactions, Payment Systems, and Federal Regulation of Banking. I have also taught banking,
commercial law and consumer protection courses at the University of Colorado, the University
of Cregon, and the University of Michigan.

1 regularly lecture throughout the country on banking and commercial Jaw topics. I have
taught many special seminars on secured lending at the Annual UCC Institute, the Southwest
Legal Foundation at SMU in Texas, the School of Banking of the South, programs for in-house
personne] at the various Federal Reserve Banks, the American Bankers Association, the
American Bar Association, state Bar and Banking associations, ALVABA, the Practicing Law
Institute, and the Bank Administration Institute. For example, I presented a keynote program on
Secured Consumer Lending under Article 9 of the UCC and related consumer protection laws at
the American Bar Association annual mecting in August 2007. | have given programs for
ALWV/ABA on enforcement of security interests in commercial and consumer credit transactions.

] have written several treatises that are widely used by financial institutions around the
country, by academicians, and by attorneys who practice banking and commercial law. These
treatises are regularly cited by federal and state courts. They include (1) The Law of Secured

Transactions under the UCC (with Barbara Clark); (2) The Law of Bank Deposits, Collections

 

and Credit Cards (with Barbara Clark); and Compliance Guide to Payment Systems (with
Barbara Clark and Mark Hargrave). The Secured Transactions treatise includes extensive
materials on default, foreclosure sales, and remedies for noncompliance. | have co-authored a

law schoo! casebook entitled Cases and Materials on Consumer Protection (with Professor Fred

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Miller) and a book entitled Handling Consumer Credit Cases (with J. Fonseca). ] also co-edit a
newsletter ontitled Clarks’ Secured Transactions Monthly, Over the years, | have won a number
of awards for my teaching and scholarship in these areas, and for a number of years I have been
listed in Best Lawyers in America.

Over the years, I have been active in commercial/consumer law reform. In 1972 I
consulted with the Commissioners on Uniform State Laws in the drafling of the Uniform
Consumer Credit Code. { worked closely with the Kansas legislature in the enactment of the
Consumer Credit Code in Kansas in 1973, as well as the enactment of the Kansas Consumer
Protection Act (dealing with deceptive acts and practices in consumer sales). 1 wrote the original
Kansas Comments to the CCC and the KCPA. In the early 1990s, I served on the original Study
Committee that resulted in the drafting (and enactment by all 50 states) of Revised Article 9 of
the UCC. In that capacity, I participated in the consideration of various issues relevant to this
case, including security interests in consumer goods such as automobiles, and the relationship of
UCC Article 9 to consumer protection legislation.

I serve on the Board of Editors of the Banking Law Journal and the UCC Law Journal. I
have served as a director of a national bank. During the last 20 years, | have been engaged a
number of times as an expert witness, testifying by affidavit, deposition or at trial, before federal
and slate courts and arbitration panels. My list of engagements is attached as Exhibit B.

Materials } have Reviewed for this Report. In preparation of this report, I have
reviewed the following materials:

o Various pleadings, including the Class Action Complaint and
Answer/Counterclaim

o Plaintiff's Motion for Class Certification

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o Judge Sargus’ Opinion and Order dated September 30, 2005
o Various Motions and supporting materials dealing with Discovery in this case

o Letter from Mr. Seewald to Mr. Meyer regarding foreclosure notice forms used by
Hyundat in various states

o Deposition of Vicki Jenkins
o HMA’s and HMFC’s Motions to Dismiss
© Various documents related to Vicki Jenkins’ claim against Hyundai

© Various exemplar notices of foreclosure disposition used by Hyundai around the
country

© The Ohio version of Revised Article 9 of the UCC, with Official Comments
o The Ohio Retail Installment Sales Act

© The Ohio Consumer Sales Practices Act

© The Hyundai Collections Policy Manual

o A Hyundai spreadsheet on “State-Specific Notice of Intent Guidelines”

© Various judicial decisions in Ohio and other states dealing with Article 9 of the
UCC and Retail Installment Sales Acts

© Various state consumer protection statutes and deceptive trade practices acts.
© Various secondary sources on the laws and practices governing retail installment
sales of motor vehicles, including my own treatise.
FIRST OPINION: THE LAWS GOVERNING FORECLOSURE ON
CONSUMER MOTOR VEHICLES ARE NOT UNIFORM
l have been engaged by the firm of McGlinchey Stafford PLLC to provide my
professional opinion as to whether the laws governing default, foreclosure and remedies for

creditor noncompliance arc uniform throughout the country as they apply to secured consumer

motor vehicle financing. In my opinion, the laws governing these transactions are far from

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uniform. | recognize that there is a surface uniformity to enforcement of security interests under
Anticle 9 of the “Uniform” Commercial Code. All 50 states have enacted that statute, making it
seem as “uniform” as federal law. But if you drill down below the surface, you discover that it is
fay from a “uniform” commercial code, particularly with respect to consumer transactions.

My experience in this area, over 42 years of consulting, writing, teaching and engaging in
law reform at the state and national level, has revealed to me the huge variations in the law that
exist from state to state, based on large gaps in the UCC, substantial changes in the applicable
statutes from the 1990s to the present time, and an uncertain overlay of related consumer
protection law such as retail installment sales acts and deceptive trade practice acts. Moreover,
ambiguities in the law have led to preat variation in court decisions from one state to another,
and even in a single state. This makes it very difficult to predict how a court in a given state
would rule on issues such as (1) whether the creditor is out of compliance with a given statutory
provision such as notice of a foreclosure sale, (2) remedies for noncompliance, (3) the
appropriate statute of limitations, (4) which state’s law applics under a proper conflict-of-law
analysis, and (5) fact-intensive issues such as whether a particular foreclosure sale was
“commercially reasonable”.

A. Article 9 of the UCC is not a “Uniform” Law Governing Foreclosures on
Consumer Motor Vehicles Because of the Large Gaps Deliberately Left by the
Drafters To Be Filled by the Courts on a State-by-State Basis.

The lack of uniformity in this area is based on history. When the Uniform Commercial
Code was first adopted by the various states in the 1950s and 1960s, the goal was for if to serve
as a substitute for “federal commercial law” enacted by Congress, combining the principle of
states’ rights with the need for uniformity in commercial law. Article 9 of the UCC governs both

commercial and consumer secured transactions, and sets forth a body of rules governing

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enforcement of security interests when a debtor goes into default. These rules cover (1) when
“default” occurs to trigger the creditor’s duty to comply, (2) the secured party’s right fo repossess
the collateral, (3) the secured party’s right to dispose of the collateral after repossession, (4) the
duty of the creditor to give notice to the debtor of an impending foreclosure sale of the collateral,
(5) the elernents of a “commercially reasonable” foreclosure sale, (6) the option of holding a
“strict foreclosure” instead of a sale, (7) the debtor’s right to redeem the collateral prior to sale,
and (8) an array of remedies for the debtor if the secured creditor misbehaves during foreclosure.

Article 9 contains some important rules giving consumer debtors greater protection than
business debtors. Chief among these is the minimum civil penalty (the entire finance charge for
the debt plus ten percent of the original principal) that is triggered by creditor misbehavior
during foreclosure. For the most part, however, Article 9 defers to other state laws when it
comes to “consumer protection”. Yet it is often unclear how these other laws fit with Article 9 of
the UCC. The relationship of one law with another must ultimately be decided by the courts of
the various states. It is not surprising that no area of the UCC has been litigated as heavily as the
enforcement rules under Article 9.

About the same time that the UCC was being enacted around the country, special
“consumer protection” legislation such as retail installment sales acts and deceptive trade
practice acts were also being enacted in various states. Most states enacted a RISA and/or a
deceptive trade practice statute of some sort. The drafters of the UCC were fully aware of these
special consumer statutes and deferred to them from the beginning. Old UCC 9-203(4) (later re-
enacted as Section 9-201) specified that, in case of conflict between Article 9 and a RISA, the
RISA controls. This growth of consumer protection laws as an overlay to Article 9 made the

UCC “non-uniform?” for consumer transactions from Day One. It is not an exaggeration to say

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that “uniformity” is both a misnomer and a mirage when it comes to the various states’ laws:
governing enforcement of consumer secured transactions. Congress also recognized the limits of
the UCC in responding to special concems for consumer debtors when it enacted the Federal
Truth in Lending Act in 1968—a statute that provides a federal overlay to the law governing
consumer secured transactions covering collateral such as motor vehicles. The Commissioners
on Uniform State Laws tried to regain the initiative by promulgating the Uniform Consumer
- Credit Code in the late 1960s and 1970s, but variations of that statute have only been enacted in
about 15 states. (1 worked on the drafting of the UCCC in 1972.) Because of these overlays, to
which Article 9 defers, there is huge non-uniformity built into the law governing foreclosure on
consumer vehicles from state to state.
Article 9 of the UCC was amended by the Commissioners on Uniform State Laws in
1972, and again in 2001. The original Section 9-203(4), deferring to other consumer protection
legislation in every state, was re-enacted as Section 9-20] in 1972 and again re-enacted in 2001.
The history of the 2001 amendments to Article 9 is particularly revealing. | served on the Study
Committee that began the comprehensive revision of Article 9 in 1990; this process was co-
sponsored by the Commissioners on Uniform State Laws and the American Law Institute. The
Final Report of the Study Committee, released in 1992, contained no consumer-related revisions.
However, an initial working draft prepared by the Drafting Committee in 1994 contained a
number of consumer-protection provisions to add to Article 9, and these provisions were
approved by the Drafting Committee jn the fall of 1997, over strong opposition from consumer
creditor representatives. In early 1998, more meetings were held among different interest
groups, resulting in a “consumer compromise” now reflected in Revised Article 9. This

“cornpromise” includes three elements directly relevant to the present case:

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*UCC 9-626 adopts the “rebuttable presumption” rule for faulty foreclosures of collateral

owned by business debtors. However, 9-626 excludes consumer transactions from the
rebuttable presumption rule, leaving it to the courts to determine the proper rule to apply. This
leaves consumer advocates free to argue the “absolute bar” rule as the proper sanction for
creditor misbehavior during a consumer foreclosure. A. few states {including Ohio} eliminated
the “consumer exclusion” from their version of 9-626, In the vast majority of states where the
consumer exclusion was retained, however, it is very difficult to predict which deficiency claim
rule a court will apply in a consumer foreclosure. As of this date, there is precious little case law
under Revised Article 9 to provide any clarity. Before 2001, most states applied the rebuttable
presumption rule, Since 2001, the trend has continued to move away from the absolute bar rule.

*Can a consumer wipe out a misbehaving creditor’s deficiency claim and recover the

minimum civil penalty mandated by UCC 9-625? As part of the “consumer compromise”, the
drafters were unable to establish a clear rule on this critical issue. Instead, as with the deficiency
claim issue, they leave it to the courts on a state-by-slate basis. This “we punt” approach is
described in Official Comment 3 to UCC 9-625: “Because Section 9-626 does not apply to
consumer transactions, the statute is silent as to whether a double recovery or other over-
compensation is possible in a consumer transaction.” Ohio eliminated the possibility of double
recovery for consumers in its current version of 9-625,

*Even ignoring state and individual variances, is a class action appropriate for violation
of a statute that provides liberal minimum civil penalties for a consumer in an individual claim
based on noncompliance with the default/foreclosure rules of Article 9? On that issue, too, the
drafters “punted” to the courts of the various states. A good discussion of the “consumer

compromise”, and the problems of uncertainty it has created, is found in a recent Ohio State Law

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Journal article by one of the two principal drafters of Revised Article 9. Mooney, The Consumer
Compromise in Revised Article 9: The Shame of It All, 68 Ohio St. LJ. 215 (2007),

In the interest of getting Revised Article 9 enacted on a nation-wide basis, the drafters
simply gave up on “uniformity” with respect to consumer transactions.

B. Consumer Protection Legislation in the 50 States, To Which Article 9 Defers, Is
itself Subject to Great Variation.

Based on patterns of enactment around the country, there are lwo types of “‘consumer
projection” legislation that can affect the enforcement/foreclosure rules of the UCC: (1) retail
installment sales statutes and (2) deceptive trade practice statutes, The problem is that both of
these categorics of consumer protection laws vary greatly from state to state.

In many states, the only post-repossession notice requirement is found in Article 9 of the
UCC. Most states also have a retail installment sales statute that governs foreclosure of security
interests on consumer motor vehicles and to which Article 9 of the UCC defers. Yet those states
statules vary greatly, Some state statutes, like those modeled after the Consumer Credit Code,
require only a pre-repossession notice to the consumer of the right to cure a default by tendering
the delinquent installments. The Kansas statute on which | worked in the 1970s is a pood
example. In these states, the only post-repossession notice requirement is found in Article 9 of
the UCC, particularly Sections 9-613 and 9-614. In other states—such as Connecticut, Hlinois,
Louisiana, Maryland, and Pennsylvania—a special post-repossession notice is required,
including a right to cure prior fo foreclosure sale, on top of the UCC requirements. As far as }
can tell, Ohio is unique as being the only state where the debtor is required to receive three
notices-~two post-repossession notices under the RISA and the UCC notice of a foreclosure
sale. In some of these states it is not clear what the remedy is for noncompliance, or whether the

UCC remedies are applicable for noncompliance with the RISA. Many of these RISA statutes

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don’t include a statute of limitations or a conflict-of-laws rule, leaving these issues to the courts
of the various states. In some states, there is a substantial body of decisional law construing the
RISA; in others, there is nothing. Overall, the picture is one of great confusion and uncertainty,
with substantial variations from state to state.

The deceptive trade practice statutes that have been enacted in most states present a
similar picture. These statutes can be important in determining remedies for violating UCC or
RISA foreclosure notice requirements. In some states it is possible to “piggyback” such a
violation so that it constitutes a “deceptive trade practice”, allowing recovery of attorney’s fees
and statutory penalties beyond what would otherwise be available under the UCC or the RISA
statutes. In many cases, the biggest uncertainty involves the scope of the deceptive trade practice
statute, In some states, these statutes can’t be used against a secured lendee/assignee because the
statute only covers deceptive practices made by a seller of goods during the sales transaction
(e.g, deceptive ads or misrepresentations regarding the goods). This was Judge Sargus’ decision
in construing the Ohio Consumer Sales Practices Act in his earlier Opinion and Order. In other
states, the scope of the deceptive trade practice statute is broader. For example, the Kansas
Consumer Protection Act (which I helped draft) is not limited to sellers and it could include
violation of other statutes by secured lenders (other than regulated banks). In many states, the
scope of the deceptive trade practice law--and whether it can “piggyback” onto violation of
another statute—is unclear. The deceptive trade practice laws also have a great variety of
statutes of limitations, running from one year at the low end to six years or more at the high end.
Some deceptive trade practice laws don’t have any statute of Hmitations for deceptive acts and

practices, so that a court would have to transplant one from another statute. As with the various

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RISA laws, the deceptive trade practice laws present a state-specific picture of non-uniformity

and uncertainty.

SECOND OPINION: THERE ARE A NUMBER OF STATE-SPECIFIC VARIABLES
THAT APPLY TO ANY FORECLOSURE ON CONSUMER VEHICLES

Based on my 42 years of experience in consumer credit compliance, and the materials ]
have reviewed in connection with my writings on the subject, there are a number of state-specific
variables that come into play for each foreclosure on a consumer motor vehicle. In my opinion,
there are at least six state-specific variables that are particularly relevant with respect to claims
involving defective foreclosure sale notices. Because of these variables, and the absence of clear
case law in many jurisdictions, one is required to make a “5S0-state guess” on the law governing

enforcement of consumer vehicle foreclosures. The six variables are as follows:
*State-Specific Variable #1: Has the Consumer Really “Defaulted”? In most cases

involving foreclosure on consumer motor vehicles, the debtor is clearly in default by failing to
make a payment or violating some covenant in the security agreement. Assuming a repossession
of the vehicle without breach of the peace, the duty then arises for the secured creditor to give -
advance notice of the foreclosure sale, under both the UCC and the various RISAs. In some
cases, however, there is no “default” by the borrower because the lender “called” the loan
without justification, or made some affirmative misrepresentation. This can happen when the
secured creditor fails to give notice of right to cure before repossession, as required by some
retail installment sales laws such as the Consumer Credit Code. Or the creditor may establish a
pattern of acquiescing to late payments, then suddenly pull the plug without prior notice. Or the

secured creditor may have violated some other contractual duty, which led the consumer to

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suspend payments. In these “lender liability” cases, the consumer is not in “default” and the
creditor secks to enforce its security interest prematurely. In any of these cases, it is an issue of
fact as to whether the debtor is truly in “default”. Ms. Jenkins raises this issue in her complaint
when she challenges the basis for repossession and makes a conversion claim.

The enforcement and foreclosure rules of the UCC presuppose default on the part of the
debtor; however, nowhere does Article 9 define “default”. Nor is default defined in Section 1-
201 (the “General Definitions” Section of the UCC), Again, this leads to ambiguity as states
must refer to other legislation, such as the Uniform Consumer Credit Code, or to their courts for
guidance. If default has not occurred, and the secured creditor undertakes self-help repossession
prematurely, then it may be that the enforcement rules of the UCC—including foreclosure sale
notice requirements---never come into play. This is the suggestion of UCC 9-601. Instead, the
repossession would probably constitute tortious “conversion” even though it was done without
breach of the peace. This characterization of the consumer’s claim might well justify (1) actual
damages measured by the fair market value of the vehicle, (2) punitive damages and ()
recovery of attorney’s fees, in addition to possible recovery under the applicable RISA. In any
case, the rules on premature repossession vary greatly from state to state.

*State-Specific Variable #2: Was the Foreclosure Notice Really Defective? As T

understand the present case, the primary issue is whether Hyundai’s post-repossession notices
were defective or not sent at all, In my opinion, this issue can only be resolved on a state-by-
state basis. In that respect, the foreclosure sale notice requirements of the various slates contrast
sharply with failure to comply with disclosures mandated by a single federa] statute such as
Truth in Lending. Different courts in different states could view compliance through different

lenses. Somé courts could require “strict compliance” while others might allow “substantial

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compliance” with the statutory guidelines, under both the UCC and the various RISAs. A good
example is provided by the requirement of the UCC that each pre-disposition notice include a
statement “that the debtor is entitled to an accounting of. the unpaid indebtedness and states the
charge, if any, for an accounting.” UCC 9-613(1)(D). Whether this statement of accounting
must be provided separately, or whether a summary of the unpaid balance on the face of the form
is sufficient, will depend on the compliance standards that have been employed in each State,
based on prior case law.

Another variable is when the foreclosure took place. A notice that does not comply with
Revised Article 9 of the UCC (effective in most states on July 1, 2001) may well comply with
the somewhat simpler requirements under the pre-revision version of Article 9. Similarly, some
RISA laws require only a single post-repossession notice, while some (such as Ohio} require two
such notices, one different from the other. In short, in each state the notice requirements are not
only different among themselves, but uncertain in their relationship to each other. Moreover, the
mere failure to send appropriate notice is not determinative of lability in every state. Though
the requirements of UCC 9-613 and 9-614 are generally “uniform”, the gaps left in Article 9, and
the consumer protection laws to which Article 9 defers, crase this uniformity.

*State-Specific Variable #3: What are the Remedies for Nencompliance? Since the

UCC first became effective throughout the country in the 1960s, the appropriate remedies for
violating its rules in consumer transactions have been subject to great state-by-state variation.
Even though the default rules appear “uniform” in Sections 9-611 and 9-613, the differences in
Sections 9-625 and 9-626 create a wide variance in available remedies. This variance ts crucial
even though recovery of “actual damages” is authorized by UCC 9-625(b), In cases where a

foreclosure notice is defective, it is often difficult for a plaintiff to prove actual damages.

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Although damages vary from case-to-case depending on the value of the collateral, the loss of
use, unforeseen circumstances, etc., they are typically small in amount because they are reduced
by the amount that the deficiency is "eliminated or reduced" under UCC 9-626. That ts the
reason that almost all of the cases dealing with creditor misbehavior during consumer
foreclosures focus on (}) elimination of the creditor’s deficiency claim under UCC 9-626 and (2)
recovery of minimum civil penalties under UCC 9-625.

There is no statutory uniformity at all with respect to a misbehaving creditor’s right to a
deficiency following foreclosure. Under the old version of Article 9, courts around the country
had invoked three very different rules: (1) an “absolute bar mile” under which creditor
misbehavior during foreclosure would preclude any deficiency; (2) a “rebuttable presumption
rule” under which a noncomplying creditor has the burden of proving that ifs noncompliance did
not prejudice the debtor because the sale itself was held in a proper manner and fetched a fair
price; and (3) a “setoff” rule under which the debtor could offset against the creditor’s deficicncy
claim any other damages that it could recover under the UCC. During the revision of Article 9,
the drafters acknowledged the “nonuniformity resulting from court decisions” (Official
Comment No. 4 to UCC 9-626) (emphasis added) and simply refused to deal with the issue.
Instead, they agreed to leave it to the courts of the various states as part of the “consumer
compromise” of 1998. UCC 9-626(a) uses a “rebuttable presumption rule” for business
foreclosures only. UCC 9-626(b) puts it this way:

The limitation of the rules in subsection (a) to transactions other than consumer

transactions is intended to leave to the court the determination of the proper rule

in consumer transactions. The court may not infer from that Hmitation the nature

of the proper rule in consumer transactions and may continue to apply
established approaches.

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What are we left with? It seems clear that courts in a state that had invoked the “absolute
bar” rule for consumer foreclosures under old Article 9 would be free to keep that rule under
Revised Article 9. However, another court in the same state would have the discretion to apply
the “rebuttable presumption” rule to consumer transactions on the ground that there is no
principled distinction based on the identity of the debtor. Some states have a broad body of case
law jurisprudence on the issue under old Article 9, while others have a blank. The issue of
whether a deficiency claim against a consumer debtor can be erased was a highly contentious
one during the drafiing of Revised Article 9, and will continue to be under Revised Article 9.
The only certainty is that the matter can be argued both ways, and is subject to state-by-state
analysis.

The second remedy that is crucial in cases like this is recovery of minimum “statutory”
damages under UCC 9-625(c)}. As mentioned above, these darmages—the entire finance charge
plus 10% of the original principal amount-~can be very large, more than $20,000 in a six-year
contract for an expensive motor vehicle. Though the damages appear to be automatic for even a
technical violation of the UCC foreclosure rules, with no discretion on the part of the court,
courts in some states have concluded that failure to give notice doesn’t trigger the statutory
damages unless the bad notice leads to a ‘‘commercially unreasonable” sale. Even if recovery of
damages under 9-625{c} is automatic in a given state, there is great uncertainty about whether a
consumer can combine elimination of a deficiency with an affirmative claim for statutory
damages, the so-called “double-whammy”. In some states, including Ohio before 1992, the
double-whammy has been okayed by the courts; in others, it has not. It’s all in the discretion of
the court in a given state, sometimes with the aid of established case law in that state and

sometimes not. There are also many legislative variations, A further complication is thai some

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states might allow a deceptive trade practice claim on top of the UCC claims, while another may
not. Finally, it’s not at all clear how remedies found in some RISA statutes relate to remedies
available under the UCC. The only thing that is clear is that the law governing remedies is not
uniform among the states.

A third remedy that may be available in some states is statutory damages and recovery of
attorney’s fees under a deceptive trade practice statute, which is “piggybacked” onto a violation
of a RISA or the UCC. By contrast, based on this Court’s earlier Opinion and Order, such a
remedy is not available in Ohio because the assignee of an installment contract is not considered
a “supper” under the Ohio Consumer Sales Practices Act.

Article 9 is silent on whether a class action is appropriate for a statute that includes a
liberal minimum civil penalty for creditor noncompliance. The issue came up during the drafting
of Revised Article 9. The February 1998 draft provided that the tolal recovery in a consumer
class action seeking the minimum civil penalty for each transaction could not exceed the lesser
of $500,000 or one percent of the secured party’s net worth. On this point, the UCC drafters
were using the model found in the federa] Truth in Lending Act. This provision was deleted in
the 1998 “consumer compromise”, where it was agreed that Revised Article 9 would be silent on
the class action issue. In the absence of a uniform statute on the point, how courts in the various
states would deal with the issuc is completely unclear.

In my opinion, some courts would conclude that the UCC minimum civil} penalty is a
sufficient incentive for individual suits, so that class action treatment is unnecessary. This issue
came up in the early days of Truth in Lending, when the federal statute contained no provision
for class actions. A class action was brought in New York against the issuer of a credit card

whose disclosure form did not comply with the requirements of TILA. The court refused to

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certify the class, finding that recovery based on multiplying the TILA minimum civil penalty
($100) by the number of members in the class “would be a horrendous, possibly annihilating
punishment, unrelated to any damage to the purported class or to any benefit to defendant for
what was at most a technical and debatable violation of the Truth in Lending Act.” Ratner v.
Chemical Bank of New York, 34 FRD 412 (8.D.N.Y. 1972). Courts in other states might not be

willing to apply the rationale in Ratner to the minimum civil penalty in Article 9 of the UCC,

 

even though the UCC penalty can be much larger than the TILA penalty.

*State-Specific Variable #4; Did the Noncomplying Notice Constitute Commercial
Unreasonableness? Under the decisional law in some states, a noncomplying notice of
foreclosure sale is not enough, by itself, to justify elimination of a deficiency claim, the right to a
deficiency remains unless the noncompliance results in a “commercially unreasonable”
foreclosure sale. In such states, the consequences of failure to give notice depend on other
factual elements of “commercial reasonableness”, which can only be determined on a case-by-
case basis. Similarly, in “rebuttable presumption” states, the right of the secured creditor to rebut
the presumption created by failure to give notice of the foreclosure sale necessarily involves
factual issues that must be decided on a case-by-case basis. As a third example, some stales have
a RISA that wipes out deficiency claims if the secured creditor has not disposed of the collateral
in a “commercially reasonable manner.” In these states, the deficiency is eliminated only if the
faulty notice amounts to a “commercially unreasonable” disposition, The likelihood of getting to
these factual issues of “commercial reasonableness” will depend on how a given state views the
seriousness of the defective notice. Ultimately, it will be a state-by-state analysis.

* State-Specific Variable #5: What Statute of Limitations Applies? Revised Article 9

of the UCC contains no statute of imitations governing violation of its enforcement rules. The

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same is true of most RISA stalutes and deceptive trade practice statutes. Which statute of
imitation is appropriate will vary greatly from state to state. There are many possibiliues, as the
case Jaw has shown, One possibility is that a court would apply the four-year limit found in
UCC 2-725 dealing with the sale of goods, as some courts have done; other courts reject that
approach on the ground that claims involving the financing of consumer goods like motor
vehicles are not within the scope of 2-725, which relates more to the “sales” aspect of the
transaction. A second possibility is to apply the state statute of limitations dealing with liability
based on a general “statutory” claim. A third possibility is to use the state’s statute for actions by
“assignees”, which can be as short as one year. A fourth possibility is to use the state’s statute
for claims arising out of “written contracts”. Moreover, courts in some states would apply a
discovery rule that could toll the statute of limitations depending on individual facts. Some
states even have “residual” limitations to cover cases not otherwise covered by a more specific
statute of limitations.

To make matters even more complicated, the proper statute of limitations may vary based
on the remedy that the plaintiff is pursuing. In particular, where the UCC statutory damages are
being sought, a court might well apply a statute of limitations that covers “penalties” on the
ground that the UCC statutory damages bear no relationship to the harm suffered by the plaintiff.
(In Ohio, for example, the statute of limitations for a “penalty or forfeiture” is one year.) If the
samc plaintiff is also seeking a wipe-out of the creditor’s deficiency claim, another statute of
limitations may apply. In short, in the absence of a uniform statute of limitations in the UCC, it
is impossible to predict what limitations will be applied in a given state for a UCC claim, and the
applicable limitations could also vary for different remedies sought under a single statutory

claim.

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*State-Specific, Variable #6: Choice of Law. The Hyundai motor vehicle installment

sales contracts I have reviewed contain a choice-of-law provision that appears to be based on the
location of the dealer. Though Article 9 of the UCC does not have a choice-of-law rule that
governs enforcement of security interests in consumer motor vehicles, UCC 1-105(1) allows the
parties in both commercial and consumer contracts to choose as the governing law a state that
bears a “reasonable relation” to the transaction.

Again, uncertainty and lack of uniformity reign. If a consumer who lives in Kansas City,
Missouri buys a new car In Kansas City, Kansas and the installment contract is keyed to Kansas
law, which state’s UCC rules and RISA rules contro] forectosure? Does Missouri law control
because enforcement occurs in that state? Or does Kansas law control under the choice-oflaw
provision in the contract? Does it make a difference if Kansas has a RISA with a choice-of-law
rule (K.S.A. 16a-1-201) providing that Kansas law controls consumer credit transactions “made
in this state’? So Jong as laws are not uniform, the choice-of-law analysis must be done on a
state-by-state basis to determine the applicable enforcement rules. As examples of the
importance of choice-of-law analysis, Stale A may have an “absolute bar” rule governing
deficiencies; State B may have a “rebuttable presumption” rule. State A may allow “double
whammy” recovery, while State B does not. State A may have a policy against allowing class
actions where a single consumer can recover substantial civil penalties; another state may not
have such a policy. The examples could go on and on.

*Individual Variables. Overlaying these state-specific variables is an additional level of

case-by-case inquiry. Under Section 9-613, the sufficiency of notice is ultimately a "question of
fact." Individual circurnstances—including whether notice was sent at all, when it was sent, who

received it, what it contained, what the consumer understood, and whether the consumer

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obtained additional information——could all come into play. Likewise, determining whether a
sale is "commercially reasonable" is fact-intensive. I devote a chapter to this in my treatise on
Secured Transactions. Relevant factors include the duty to fix-up collateral, the appropriateness
of a public or private disposition, the duty to publicize the sale (including an adequate
description of collateral, vital statistics, the availability of collateral for private inspection, and
the scope of publicity), how long the collateral should be held prior to sale, the relevance of the
price obtained, the problem of two-step dispositions, and several variations of recourse and
repurchase, In addition, individual facts determine whether there was really a “default", if and
when the statute of limitations is tolled, the amount of actual damages, and the choice-of-law,
Ms. Jenkins' factual situation highlights some of these differences, as she alleges unusually high
actual damages and makes a claim in conversion.

THIRD OPINION: THE PICTURE IN OHIO JS ILLUSTRATIVE OF THE
DIFFICULTY IN APPLYING UNIFORM RULES NATION-WIDE

The law in Ohio governing enforcement of security interests In consumer motor vehicles
is representative of other slates in its large areas of uncertainty. Ms. Jenkins’ claims—violation
of the post-repossession notice requirements of the Ohio RISA and the Ohio UCC—graphically
illustrate the problem. Moreover, Ohio is a state that has important nonuniform amendments to
the UCC, confusing Official Comments to those nonuniform amendments, nonuniform
provisions in its RISA, and confusing cross-references between the UCC and the RISA.

Uncertainties under the Ohio RISA. In my opinion, the Ohio Retail Installment Sales
Act, which dates back to 1953, is different from RISA legislation in other states, and in itself
poses a number of difficult interpretational issues. Unlike some other RISA legislation, the Ohio
statute does not include a duty to notify the debtor of a right to cure the default by tendering the

missed payments prior to repossession, which is the typical RISA pattern. Instead, the Ohio

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statute is unusual in its requirement that the secured lender give two notices after repossession
but before foreclosure—-a notice of right to cure that must be sent within five days after
repossession (1317.12) and a notice, at least ten days prior to sale, giving details about the
proposed sale and the creditor’s right to a deficiency (1317.16). Both of these amendments were
added to the statute in 1972. The Ohio RISA also mandates a public sale of the collateral, which
contrasts sharply with Article 9 of the Ohio UCC and seems inconsistent with standard industry
practice to use dealer auctions for motor vehicles (which are considered private sales.)

Because 1317.16(C) (amended in 2001, along with Revised Article 9 of the UCC) refers
io many of the UCC enforcement rules that continue to apply but does not refer to the UCC
notice rules (1309.613 and 1309.614), it seems unclear whether the RISA notice requirements
“occupy the field” for consumer transactions in Ohio. (In a number of states which don’t have
this type of RISA, Article 9 of the UCC provides the only notice rules for consumer
foreclosures.) Similarly, in line with this Court’s earlier Opinion and Order, even if a UCC
remedy is available in the form of possible loss of the deficiency claim under 1309.626, it
remains unclear whether the minimum civil penalty could be recovered under 1309.625.

Though this Court has previously ruled that the Ohio six-year statute of limitations for
claims of “unenforceability” applies under the Ohio RISA, it seems very possible that RISA
claims seeking the UCC minimum civil penalty as a remedy would be governed by the one-year
Ohio statute of limitations for “penalty or forfeiture”. Does violation of the Ohio RISA notice
rules entitle the consumer to reduction of a deficiency or minimum civil penalties if this
noncompliance did not make the disposition “commercially unreasonabie”?

The fit between the Ohio RISA and the UCC is uneasy, at best, just as in other states.

The interpretational problems posed by the Ohio RISA, and its relationship to Article 9 of the

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UCC, were analyzed 25 years ago in Lipson, “Repossessing From Ohio Consumers—The
Interaction of Article Nine and the Retai! Installment Sales Act’, 13 Toledo L. Rev. 1282-1374
(1982). In my opinion, these areas of uncertainty have only increased since that time.
Uncertainties under the Ohio UCC. The enforcement rules of Article 9 of the Ohio
UCC have an unusual history. Applying the old version of Article 9 as it existed prior to 1992,
the Ohio Supreme Court concluded that giving a defective foreclosure notice on a consumer
motor vehicle allowed the plaintiff to recover a “double whammy”, Lc. absolute bar of the
deficiency claim plus Article 9 statutory damages. Kruse v. Voyager Ins. Cos,, 648 N.E.2d 814,

26 UCC Rep.2d 999 (Ohio 1995). (The Kruse decision never mentions the Ohio RISA,

 

presumably because it didn’t apply.} The court also clearly characterizes the statutory damages
as a “punishment” because they bear no relation to the plaintiff’s actual loss, as this Court noted

in its earlier Opinion and Order. Perhaps in response to the Kruse. case, the Ohio legislature

 

amended the UCC in 1992 to shift to the “rebuttable presumption” rule for both commercial and
consumer foreclosures, and that non-uniform provision was carried forward into Revised Article
9, 1309.626(C). To add a measure of confusion, Baldwin’s Ohio Revised Code Annotated
includes the “Official Comments” to Revised Article 9, which are inconsistent with Ohio’s
nonuniform amendment to 9-626.

The next Ohio nonuniform amendment to Article 9 occurred in 2004, when 1309.625 was
amended io add a new and unique subsection (D). Under the new subsection, any statutory
darnages recovered under subsection (C} “shall be reduced by the amount that the sum of the
secured obligation, expenses, and attorney’s fees exceeds the proceeds of collection,
enforcement, disposition, or acceptance” regardless of whether the debtor’s deficiency is

eliminated or reduced under the rebuttable presumption rule, This language requires an offset of

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any deficiency claim from the statutory damages otherwise available. Before 2004, the
consumer's minimum damages were only offset by the deficiency if the creditor successfully
rebutted the presumption. In this manner, Ohio has moved from the “absolute bar” rule and
“double whammy” remedy that existed before 1992, to the “rebuttable presumption” rule in
combination with statutory damages from 1992 until 2004, to the current “offset” rule. This
legislative direction is clearly pro-creditor.

The current rule will apparently vary from one consumer claimant fo another, depending
on the size of the deficiency. For example, according to my calculations, Ms. Jenkins could
claim statutory damages of about $10,000 and was subject to a deficiency claim of about
$14,000. Because her claims arose out of a pre-2004 foreclosure, her statutory damages would
be $10,000 and would only be reduced by the amount of her deficiency if Hyundai were able to
rebut the presumption under 1309.626. By contrast, a post-2004 Ohio claimant with the same
numbers would get no statutory damages al all, regardless of whether the deficiency was
reduced or not, because those damages ($10,000) would have to be reduced by $14,000, leaving
a negative number under subsection (C). In either case, recovery under 1309.626, in the form of
a reduced deficiency, would depend on whether the consumer’s failure to receive nolice of the
foreclosure sale led to actual damages because it made the sale “commercially unreasonable”.
That is the effect of the rebuttable presumption rule, which ts fact-specific, Under the Ohio
nonuniform version of the UCC, these remedies will also vary depending on the size of the
deficiency. For example, a post-2004 consumer whose statutory damages are $10,000, but
whose deficiency obligation is only $2,000, could recover $8,000 under 1309.625(C) and might

or might not escape all or a portion of the deficiency, depending wpon whether the secured

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creditor was able to rebut the presumption.’ While this formula is unique to Ohio, there is a wide
variance in nonuniform amendments to UCC 9-625 and UCC 9-626 from state-to-state.

Applying the State-Specific and Individual Variables in Ohio. As a way of
summarizing the uncertainties in Ohio, it is useful to review the six state-specific variables
discussed above:

*Consumer “Default”, The materials I have reviewed, including Ms. Jenkins’ deposition,
indicate that she may not have been in “default” on her installment contract. She consistently
contends that the repossession itself was wrongful because of the manner in which Hyundai
handled her disability insurance claim. When asked “What is the substance of your notice
claim?”, she responds “Just the repossession of my car.” Moreover, she stated that she had no
money to redeem in any case. In my opinion, most other Ohio claimants won’t have the same
kind of “wrongful repossession” claims as Ms. Jenkins.

Given Ms. Jenkins” unique factual situation, the foreclosure notices would not be relevant
and her car would have been tortiously converted when it was repossessed in the absence of
“default”, Under Ohio law, as I understand it, damages for tortious conversion are measured by
the fair market value of the goods, coupled with the possibility of punitive damages and
attorney’s fees. It scems likely that most other consumers in Ohio would not be able to claim a
wrongful repossession, so that the rules governing defective foreclosure notices would be
applicable and the consumer would be limited to a different set of remedies under the Ohio

RISA and UCC.

 

‘ Htis also possible that Obio’s 2004 amendment to 1309.625(D)} could apply retroactively, if courts determine that
ihe provision is remedial and does not affect substantive rights. Ifthe arnendment is applied retroactively, then the
new rule would apply to al} cases that came to trial after the new amendment's effective date on November 5,
2004 even if ihe foreclosure sale took place before November 5, 2004. Lf the new amendment is not applied
retroactively, then claims involving a foreclosure that took place prior to the effective date could reduce the
consumer's minimum damages by the deficiency only if the credit rebutted the presumption under 1309.626(D).
This is another complicated area of law in Ohio,

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In an analogous situation, Ohio law seems to recognize that a secured creditor “waives”
the legal right to declare a default when it allows the consumer to miss a number of installment
payments without blowing the whistle. Peoples Liberty Bank & Trust Co. v. Gavin, 41 N.E.2d
180 (Ohio App. 1942); Suburban Trust v. Campbell, 19 Ohio Misc. 74 (1969). Under the
rationale of these cases, any subsequent repossession would be wrongful and would constitute a
conversion, Walter v. National City Bank, 42 Ohio 54. $24, 330 N.E.2d 425 (1975).

*Noncompliance of Notice, Noncompliance with the UCC notice requirements may
depend on when the Ohio foreclosure took place. If it took place prior to the revision of the
UCC in 2001, the UCC requirements regarding the notice would be different than if the
foreclosure took place after July 1, 2001, as it did with Ms. Jenkins.

*Remedies for Noncompliance. With respect to remedies for noncompliance, as
discussed above, it seems likely that the Ohio remedies could differ greatly for different Ohio
claimants, depending on whether the foreclosure took place before 2004 or afterward, and
depending on the size of the deficiency. The Chio formula in 1309.625(D)—reducing the
statutory damages in 1309.625(C) by the amount of the creditor’s deficiency without regard to
whether the deficiency is reduced or eliminated under the “rebuttable presumption” rule—seems
unique in the country. So does the Ohio rule that a debtor whose deficiency is eliminated or
reduced under 1309.626 may not otherwise recover actual damages under subsection (B). At the
very least, this language raises serious interpretational problems. it shows the confusion that
results from legislative tinkering with a “uniform” state law.

The question of “transplanting” remedies from the UCC to the RISA to fill the gap left by

the Ohio legislature in 200] is made more confusing by the language of 1309.201(c), which

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provides that failure to comply with consumer protection statutes like the Ohio RISA “has only

the effect provided in those [consumer statute] provisions.”
*Commercial Reasonableness. The element of commercial reasonableness—a fact-

intensive issue-—remains important in Ohio under the rebuttable presumption rule of
1309.626(C). In Howard v. SunStar Acceptance Corp., 2001 WL 481936 (Ohio, App. 2001), the
court used UCC remedies to fill a gap left by the Ohio RISA for violation of its notice
requiremjents—a transplantation that might not be allowed in other states. Moreover, the court in
Howard remanded the case to the trial court to determine whether the disposition of the collateral
was “commercially unreasonable”—a fact-specific issue that will differ with each Ohio claimant.

The individual variations mentioned above apply within Ohio as well.
*Proper Statutes of Limitations, This Court ruled in its prior Opinion and Order that the

proper statute of limitations for recovery of actual damages under 1309.625(B) was six years,
while the limitation applicable to recovery of statutory damages under 1309.625(C) is one year.
The applicable statute thus varies greatly depending upon the UCC remedy sought. In my
opinion, it remains unclear what the proper statute of limitations is in Ohio for a secured
creditor’s recovery of a deficiency claim including a consumer’s defense to such a claim—an
issue that has been the subject of much litigation in other states. In Martin v. First Nat’l Bank of
Massillon, 573 F.2d 958 (6" Cir. 1978), the court concluded that a claim under the Ohio RISA is
not one for “penalty or forfeiture”, but rather a claim for “unenforceability.” The RISA claim in
Martin, however, did not involve a “penal” provision like the statutory damages given to
consumers under 1309.625(C).

*Choice of Law. Ms. Jenkins’ claim apparently involves no choice-of-law issue. Other

claimants, however, may have purchased a vehicle in Kentucky or Indiana, with a choice-of-law

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provision that chooses the place of purchase as controlling law. As discussed above, such
provisions are strongly encouraged by the Ohio UCC (1301.105), It remains unclear whether
notice given to an Ohio resident in Ohio will make Ohio law controlling, in spite of the choice-

of-law provision.

CONCLUSION

Once you get below the surface, the Uniform Commercial Code is not uniform,
particularly with respect to consumer credit transactions. The chief drafter of Revised Article 9
made this point In a recent article: "The consumer compromise produced a uniform text of
Revised Article 9, but the substance of the law applicable to consumer secured transactions
remained nonuniform.” Mooney, The Consumer Compromise in Revised Article 9: The Shame
of it All, 68 Ohio St, L.J. 215, 226 (2007). Sections 9-611, 9-613 and 9-614 are deceptively
superficial because the default provisions of Article 9 must be understood as a whole. Any
violation implicates remedies that vary widely from state-to-state. The Code is also nonuniform
in the way slates intersect their application of Article 9 with their own Retail] Instaliment Sales
Acts, consumer protection statutes, and/or other laws. Even within states, these laws are
complicated and their implications uncertain, due to frequent amendments and insufficient case
law. Some of Ohio's laws relating to post-repossession notice and consumer recovery are unique
in the country. Ms. Jenkins’ unique situation illustraies how individual facts detennine key
issues, such as whether there was a default, what statute of limitations applies, what choice-of-
law applies, whether the foreclosure sale was “commercially reasonable", and ultimately what
the consumer can recover, if anything at all. The colossal task of determining all the state-by-

state and case-by-case variances for these multiple issues would bog down a court and hinder

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ini jury i sons in itself would be nearly
consumer redress. In my opinion, determining proper jury instructions 1 itself

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EXHIBIT A

VITA OF BARKLEY CLARK

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EDUCATION
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Harvard Law School (LL.B. 1965}

CURRENT POSITION
Partner, Stinson Morrison & Hecker LLP., Washington, DC and Kansas City; Member, Financial
Institution Practice Group
Adjunct Professor of Law at University of Virginia Schoot of law, where | taught
commercial/banking law, 2003-05

PRIOR POSITIONS

Partner, Shook Hardy & Bacon, LLP, Washington, DC, 1989-2006

Adjunct Professor of Commercial and Banking Law, Georgetown Law Center (2001-2003)

Adjunct Professor of Law, University of Kansas, 1990 - 1998

Visiting Professor of Law, University of Michigan, summer 1991

Professor of Law, National Law Center, George Washington University, Washington D.C., 1985-
1989

Robert A. Schroeder Distinguished Professor of Law, University of Kansas, 1982-1985

Professor of Law, University of Kansas, 1972-1982

Associate Professor of Law, University of Kansas, 1969-1972

Visiting Professor of Law, University of Oregon, 1972

Visiting Professor of Law, University of Colorado, 1968

Practice of law at Holme Roberts & Owen in Denver, Colorado, from 1965-1969, wilh emphasis on
commercial and banking law

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LAW PRACTICE

 

My law practice has concentrated on various aspects of banking, commercial Jaw and financial
services. Subjects include payment systems and cash management; product warranties under
Article 2 of the UCC and the Magnuson-Moss Warranty Act: Third-party service contracts, bank
deposits, collections and payments under Articles 3 and 4 of the UCC, Regulation CC and
Regulation J; documentary drafts; wire transfers under Article 4A of the UCC and FRB Reg. J;
ietters of credit under Article 5 of the UCC and the UCP, investment securities under Article 8 of
the UCC; secured transactions under Article 9% of the UCC and related consumer credit
legislation; bank regulatory problems; commercial and consumer compliance issues for financial
institutions; deceptive trade practices; alternative payment systems, check kiting litigation; check
forgery issues; bank liability for fraud of customer. Consultant to sellers of goods and financial
snstitutions and their counsel around the country. Frequent qualification as expert witness in
commercial/banking law litigation in federal and state courts and before arbitration panels. |
have made appellate arguments for clients such as E*Trade Bank (10" Circuit) and Bank One
(7 Cireuit) and worked on a variety of appellate briefs involving commercial/banking law
issues.

TEACHING

 

Teaching interests have included commercial law, payment systems, consumer protection,
federal regulation of banking, consumer financial services, creditors’ rights and bankruptcy, sales
and warranty liability, legislation, and local government, winner of six "best teacher" awards at
ihe University of Kansas School of Law and the National Law Center, Georye Washington
University; winner of “best lecturer” awards for the Colorado and Kansas Bar Review courses;
since 1971, frequent speaker at jegal seminars throughout the country sponsored by ALI/ABA,
the UCC Institute, PLI, Virginia CLE, the Banking Law Institute, National Association of
Bankruptcy Trustees, International Factoring Association and other organizations, on subjects
including banking law, check collection, secured transactions, factoring, product warranties, wire
transfers, letters of credit, UCC and bankruptcy; conductor of in-house seminars on commercial
law and banking topics at large law firms such as Shearman & Sterling in New York; Akin,
Gump in Washington; Milbank, Tweed in New York; And Mayer, Brown Rowe & Maw in
Chicago.

LOCAL GOVERNMENT/ PUBLIC POLICY

Served as member of Lawrence, Kansas City Commission for ten years (1973-1983) and served
two terms as Mayor of Lawrence. Mernber of the Board of Directors of the League of Kansas
Municipalities, Substantial intergovernmental work with Douglas County Commission, Taught
Local Government Law at KU Law School and in the KU MPA program for 16 years. Wrote
several law review articles on Kansas local government law. Argued cases before the Kansas
Supreme Court on local government law issues. Worked with the Kansas legislature on various
aspects of Jocal government law, including governmental tort immunity. Served as counsel to
the KCK/Wyandotte County Consolidation Commission. Strong interest in the legislative
process and public policy.

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BAR AND OTHER PROFESSIONAL/CONSULTING ACTIVITIES
(Past and Present)

American Bar Association, Co-Chair of Committee on Article 9 of the UCC, American Law
Institute and National Conference of Commissioners on Uniform State Laws, member of Special
Committee to Redraft UCC Article 9, Reporter, The Business Lawyer, in its Annual Review of
Secured Transactions; Board of Editors, The Banking Law Journal, Board of Editors, The UCC
Law Journal; Board of Editors, Journal of Pavment Systems Law, Special Consultant to the
Federal Reserve Board (Equal Credit Opportunity and Truth-in-Lending); Special Counsel to the
Nationa! Conference of Commissioners on Uniform State Laws (Uniform Consumer Credit
Code); Member, American College of Consumer Financial Services Attomeys and American
College of Commercial Finance Lawyers; Special Advisor to the Colorado, Nebraska and
Kansas Legislatures on the UCC, the Consumer Credit Code, and deceptive trade practice
legislation; Board of Directors, League of Kansas Municipalities; Associate Dean, University of
Kansas Schoo} of Law; Director, Lawrence National Bank; consultant to major law firms,
fmancial institutions, and the American Bankers Association on various aspects of commercial
and banking law; special counsel to the Kansas Bankers Association in dealing with a wide
variety of community banks and bank legislation; listed in Best Lawyers in America 1994-2006;
Order of the Coif.

PUBLICATIONS; BOOKS

(1) The Law of Bank Deposits, Collections and Credit Cards
(co-authored by Barbara Clark). This treatise is published by
Sheshunoff/A.8. Pratt & Sons, one of the most important
publishers of commercial law books in the country. The
treatise is supplemented tri-annually. The book has become
one of the two standard works in the field (along with Brady
on Bank Checks), frequently cited by federa] courts and state
appellate courts. It discusses wire transfers, bank deposits and
collections, documentary collections, federal regulatory
compliance issues; Regulation CC; electronic fund transfers,
and related subjects such as letters of credit and bank setoffs.
it also discusses bank Hability for customer fraud, identity
theft, money laundering, federal preemption, the Know Your
Customer principle, and other deposit-side compliance issues.

 

(2) The Law_of Secured Transactions under the Uniform
Commercial Code (co-authored by Barbara Clark). This
treatise, also published by Sheshunoff/A.S. Pratt & Sons, is
supplemented tri-annually. It is also one of the standard works
in the field, frequently cited by slate and federal courts around
the country. This book won the Rice Prize for Scholarship at
the University of Kansas in 1981.

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(3) The Law of Product Warranties (Second Edition, 2002} (with
C. Smith and Barbara Clark}. This treatise is published by
Thomson West Publishing Co., and is supplemented annually.
It synthesizes the law of consumer and commercial product
warranties, drawing on both Article 2 of the UCC and the
Federal Magnuson-Moss Warranty Act. The book won the
Rice Prize for Scholarship in 1985.

(4) Cases and Materials on Consumer Protection (1990) (with F.
Miller). This casebook was published by Michie/Bobbs-
Merrill as part of its "contemporary legal education” series.

{5) Handling Consumer Credit Cases (1972) (with J. Fonseca),
published by Lawyers Cooperative Publishing Co.

(6) Volumes 2, 4 and 7 of the Kansas Statutes Annotated, Kansas
Comments to the Uniform Consumer Credit Code, the Kansas
Consumer Protection Act, and the Uniform Commercial Code
(particularly Articles 3, 4, 5 and 9). These Comments, which
appear after each section of the relevant statutes, contain
comprehensive editorial analysis of the three statutes, wmitten
from the point of view of the drafter in the case of the U3C
and the KCPA. The Comments, written for the Revisor of
Statutes, are frequently relied upon by Kansas courts in
construing the three statutes,

(7) PLI, Warranties in the Sale of Business Equipment and
Consumer Products, 1980-1985.

 

 

 

(8) Regulation CC: Funds Availability and Check Collection
(1988) (with Barbara Clark}.

(9) PLI, Letters of Credit and Banker's Acceptances.

(1) Troth In Savings: Legal Analysis and Compliance Strategies
(1992) (with Barbara Clark and Mark Hargrave).

Op Compliance Guide to Payment Systems (2002) (with Mark
Hargrave)

(12) Compliance Guide to Payment Systems for Credit Onions

(with Mark Haregrave)published by Sheshunoff/A.S. Pratt

(13) Check 21 Manual: A guide to Check Truncation Law and

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Electronic Payment Systems (2004) (with Barbara Clark )

(14) Clarks’ Guide to Electronic Check Collection (2006) (vith
Barbara Clark)

PUBLICATIONS: LAW REVIEW ARTICLES
{A number of these articles have been cited by a variety of appellate courts, including the United

States Supreme Court in Mitchell v. W.T. Grant Co., 416 U.S. 600, 629 (1974) (Justice Powell
concurring)

(dy “Sniadach, Fuentes and Beyond: The Creditor Meets the Constitution", S59 Va. L. Rev. 355
(1973) (with J. Landers)

(2) "Preferences Under the Old and New Bankruptcy Act”, 12 Uniform Commercial Code Law
Jourmal 154 (1979)

(3) "Suretyship in the Uniform Commercial Code”, 46 Tex. L. Rev. 453 (1968) (reprinted at 1
UCCLS 303 (1969))

(4) "State Control of Local Government in Kansas: Special Legislation and Home Rule”, 20
Kan. L. Rev. 631 (1972)

(3) "Default, Repossession, Foreclosure and Deficiency: A Journey to the Underworld and a
Proposed Salvation”, 51 Ore. L. Rev. 302 (1972)

(6) "The FTC Holder Rule and UCC Article 2: The Law Is A Seamless Web", 1G UCCLYI 119
(1977)

(7) "Oil and Gas Financing Under the Uniform Commercial Code", 43 Denver L.J. 129 (1966)

(8) "The First Line of Defense in Warranty Suits: Failure to Give Notice of Breach”, 15 UCCLI
105 (1982)

(9) "Bank Exercise of Setoff: Avoiding the Pitfalls", 98 Banking Law Joumal 196 (1981)

(10) “UCC Articles 9 and 10: Some Problems Solved and Some Problems Created”, 38 U. Colo.
L. Rev. 99 (1965)

(11) "The Agricultural Transaction: Livestock Financing", 1] UCCLJ 95 (1978)

(12) "The Agricultural Transaction: Equipment and Crop Financing", 11 UCCLJ 15 (1978)
(reprinted in ] Ag. LJ. 172 (1979))

(13) "The Foreclosing Creditor under Article 9: Perilous Pitfalls Aplenty", 8 UCCLJ 291 (1976)

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"Beefing up Product Warranties: A New Dimension in Consumer Protection", 23 Kan. L.
Rev. 567 (1975) (with M. Davis; winner of Rice Prize for Scholarship)

"The Uniform Consumer Credit Code: Assessing Its Impact Upon One State and Plugging
its Loopholes", 18 Kan. L. Rev. 277 (1970)

“The Revolution in Consumer Credit Legislation", 45 Denver L.J. 679 (1968)

"Lemon Aid for Kansas Consumers”, 46 Journal of the Kansas Bar Association 143 (1977)
"Wyatt Earp and the Winelist: Is a Restaurant an ‘Open Saloon'?", 47 J.K.B.A. 63 (1978)
"Interest Rates in Kansas: The Decline and Fall of Ezekiel", 49 J.K.B.A. 81 (1980)

"The New Article 9 Amendments”, 44 J.¢.B.A. 131 (1975)

Book Review, “Handbook of the Law Under the UCC", by James W. While and R.
Summers, 58 Comell L.R. 1273 (1973)

Monthly Newsletter, Clarks' Secured Transactions Monthly, published by Sheshunoff/Pratt
and co-authored with Barbara Clark, This newsletter highlights developments in asset-based
lending, both real estate and personal property

Monthly Newsletter, Clarks' Bank Deposits and Payments Monthly, published by
Sheshunoff/Pratt and co-authored with Barbara Clark. This newsletter focuses on various
aspects of payment systems, including bank deposits and collections.

Survey, Secured Transactions, Business Lawyer, August, 1988, and August, 1989.

"Scheduled Debt Payments as Preferences: Paradigm of the Plain Meaning Rule", 1 Jour. of
Bankr. Law and Practice 7 (1991)

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EXHIBIT B

EXPERT WITNESS TESTIMONY OF BARKLEY CLARK

In re Krug, 189 BR 948, 28 UCC Rep.2d 709 (Bankr. D, Kan. 1995) (testified at trial as to
secured lender’s duty of reasonable care in handling cattle repossessed from debtor)

Chicago Title Ins, Co. v. California Canadian Bank, 2 Cal, Rptr.2d 422, 16 UCC Rep.2d 445
(Cal. Ct. App. 1991, review denied, Cal. 1992) (testified at trial as to timeliness of return
to checks by payor bank involved in check-kiling scheme of depositor, and impact of
clearinghouse rules)

United States v. Officers of Silverado, U.S. Dist. Ct. Colo. 1994 (testified in criminal trial in
defense of officer of defunct S&L regarding commercial law issues in the case)

Cromwell v. Commerce & Energy Bank, 464 So.2d 721, 40 UCC Rep. 1814 (La. 1985)
(testified by video deposition regarding the negotiability of standby letters of credit)

SCADIF, 8.4. v. First Union Nat'l Bank of Florida, 208 F. Supp. 2d 1352, 48 UCC Rep.2d
232 (S.D. Fla. 2002), afd 344 F.3d 1123 (11" Cir. 2003) (provided trial testimony
regarding whether check was a “cash item” or “collection item” for late return purposes)

KeHv y. Central Bank & Trust Co. of Denver, 794 P2d 1037, 12 UCC Rep.2d 1089 (Colo.
Ct. App. 1990) (testified at trial regarding commercial reasonableness of bank in taking
checks for deposits)

CIT Group/Sales Financing, Inc. v. E-Z Pay Used Cars, Inc., Case No.: 88C206P (Dist. Ct. of
Crawford County, Kansas} (testified at trial regarding the reasonableness of a commercial
finance company’s refusal to fund a line of credit for a used vehicle dealer}

First Century Bank v. Community Nat’l Bank, Civ. Action No. 7:00CV 00904 (W.D. Va.)
(testified at trial regarding bank’s return duties on kited checks under Reg, CC):

National Council of Churches of Christ v. First Union Nat'l Bank, No. 97-1851, 1998 WL
416744 (4 Cir, 1998) (testified at tial regarding duties of bank in opening deposit
account out of which were later drawn checks bearing forged endorsements)

Guidry y. Bank of LaPlace, 661 So.2d 1052 (La. Ct. App. 1995), aff'd 666 So.2d 296 (La.
1996) (testified at trial on behalf of a bank in a case where an investor who lost money to
a ponzi scheme fraudster sought to recover from the bank where the fraudster’s company
maintained its deposit account)

TME Enterprises, Inc. Norwest Corp., LASC Case No. BC 183236 (Cal. Super. Ct. 2002),
aff'd 22 Cal. Rptr.3d 146, 55 UCC Rep.2d 385 (Cal. Ct. App. 2004) (testified at trial
regarding a bank’s duty to monitor wire transfers where there is a discrepancy between
beneficiary’s name and deposit account number, automated environment for wire
transfers, and “business judgment” rule}

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Wells Fargo Brokerage Services, LLC y. Hanson, NASD Arbitration No, 00-05530 (testified
in lender Hability case before arbitration panel regarding the duty of a bank to foreclose

and sell securities falling value)

Blackwell v. Wells Fargo Bank, N.A., Case No. 170 Y 14800264-02 {American Arbitration
Association, San Antonio, Texas) (testified before arbitration panel regarding bank’s
liability for Ponzi scheme of its customer and nature of the “Know Your Customer”
principle}

Blackwell v. Wells Fargo Bank, N.A., Case No. 04-05041-LMC (Bankr. W.D. Tex.) (report
and deposition re bank’s liability for Ponzi scheme of its customer and nature of “Know
Your Customer” principle)

Lafavette Investments, Inc. v. Jeter, Rains & Bym, Cir. Ct. of Jackson County, MO,, 1998

(testified at trial in legal malpractice case based on failure of law firm to make UCC
filing on used vehicle inventory of dealer)

Thomas Kernaghan & Co., Lid. et al. v. Western Trade Corp., et al, Case No. 10-4105-CIV-
HUCK/TURNOFF (S.D.Fla.} (testified at trial regarding stock transfer issues inchiding
UCC Article 8 adverse claim mechanism)

Wyatt v. Phillips., No. 004165 (Ct. Com. Pls. Philadelphia, Pa.) (testified at trial regarding
leveraged buyouts as fraudulent convenances)

Testified at trial/administrative hearing in states of Connecticut (2002), Illinois (2003) and
New Mexico (2005), on behaif of Dell Computer Co./Dell Catalog Sales, Inc. regarding
distinction between a “warranty” and a “service contract” for purposes of Dell’s sales/use
tax Hability in those states.

U.S. y. Payment Processing Center, LLP, 461 F. Supp.2d 319 (B.D. Pa. 2006) (trial
testimony regarding nature of provisional credit for checks)

Golden West Refining Co. v. Suntrust Bank, 2006 WL 4007267, 61 UCC Rep.2d 1011 (C.D.
Calif. 2006) (report and deposition in case involving “perpetual” standby letters of credit)

LaSalle Business Credit, LLC v. ChinaTrust Bank (U.S.A.), Case No. BC 304063 (Cal.

Super. Ct.} (testified at trial regarding various issues in take-out of asset-based loan)

 

Effective Shareholder Solutions, inc. v. National City Corp., Case No. A0603767 (Ohio Ct.

Com. Pleas) (deposition in case regarding method of posting checks)

Freeman v. First Union Nat'l Bank, Case No. 00-2013-CIV-HUCK (S.D. Fla.) (testified by
deposition regarding late check return issues)

U.S. Bank y. First Nat’l Bank of Missouri, et_al., Case. No. 02CV216237 (Cir. Ct, Jackson
County, Mo.)

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LOUISIANA MISSISSIPPI NEWYORK OHIO TEXAS

October 23, 2007

Via Federal Express
Linda S. Mullenix Ph.D

722 Crystal Creek Dr.
Austin, Texas 78746

Re: No. C2 04 720; Jenkins, et al. v. Hyundai Motor Fin. Co., et al; In the United
States District Court for the Southern District of Ohio, Eastern Division.
Dear Dr. Mullenix:

Enclosed for your review is the Expert Report of Barkley Clark. If you have questions or
comments, please feel free to contact me.

Very truly yours,

McGlinchey Stafford, PLLC

By: W b }
(igttrey R. Seewald

JRS/ima
Enclosures

ce: Via Email
James Wertheim (Firm) (w/enc.)
Anthony Rollo (Firm) (w/enc.)
Jason Erb (w/enc.)

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